     Case 6:18-cr-00492-MC         Document 82      Filed 09/18/20     Page 1 of 8




TODD H. GROVER, OSB #98244
WARD GROVER & ASH
354 NE Irving Avenue
Bend, Oregon 97701
Tel: (541) 312-5150
E-mail: todd@wardgrover.com

       Attorney for Defendant John Jordan



                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                 EUGENE DIVISION


 UNITED STATES OF AMERICA,                          Case No. 6:18-cr-00492-1-MC

                               Plaintiff,           DEFENDANT’S SENTENCING
                                                    MEMORANDUM
                   v.

 JOHN WIDENER JORDAN,

                              Defendant.

       Defendant John Jordan, through attorney Todd Grover, submits the following

memorandum of points and authorities in advance of the sentencing hearing scheduled

for September 22, 2020 before the Honorable Michael McShane, District Court Judge.

                                  INTRODUCTION

       John Jordan is not malicious. He is poor. In 2019, Mr. Jordan was chronically

underemployed and living with his wife and two children in a single-wide trailer on a

patch of land in rural Crook County, Oregon. When an unscrupulous child-hood friend

offered to broker the sale of a Word War II vintage machine gun that Mr. Jordan had

found among heirlooms inherited from his grandparents, Mr. Jordan agreed. He and his



PAGE 1 – SENTENCING MEMORANDUM
     Case 6:18-cr-00492-MC            Document 82     Filed 09/18/20     Page 2 of 8




family needed the money. For that, Mr. Jordan is now convicted of federal felony

offenses and facing potential prison time.

       The Court can, and should, chart a different course for Mr. Jordan and his family.

As explained below, the Court should vary from the advisory sentencing guidelines and

impose a sentence of probation, rather than prison. Mr. Jordan can benefit from

continued substance abuse treatment as well as employment services, both of which are

available through the auspices of the U.S. Probation Office. Community service may

also be appropriate. With respect, it is time that we stop putting parents like Mr. Jordan

in prison for non-violent offenses.

                                       DISCUSSION

A.     Background

       John Jordan and his wife, Samantha, have two children, ages 11 and 15. The

family shares a single-wide trailer located on two acres of high desert, approximately ten

miles southeast of the town of Prineville, Oregon, in rural Crook County. For

approximately 40 years, the property belonged to Mr. Jordan’s grandparents, who erected

numerous outbuildings and collected a life-time of memorabilia and other dry goods.

Photographs of the property and the collectables are included among the appendices to

this memorandum. See Appendix, pg. 2-7. When Mr. Jordan’s grandparents passed a

few years ago, the property was inherited by Mr. Jordan’s father who, in turn, sold it to

Mr. Jordan. See Appendix, pg. 1 (Crook County tax record).

       In the years since, Mr. Jordan has been slowly cleaning-out the barns and

outbuildings on the property, selling what he can on eBay as a means of augmenting his

family’s modest income. In doing so, Mr. Jordan discovered a white cardboard box




PAGE 2 – SENTENCING MEMORANDUM
     Case 6:18-cr-00492-MC          Document 82        Filed 09/18/20     Page 3 of 8




containing what appeared to be a “grease gun”, a World War II era machine gun

manufactured by the Guide Lamp Company, then a division of General Motors. See

Appendix, pg. 8-11. The moment that Mr. Jordan opened that box, he was in violation of

federal law, though he didn’t fully appreciate that fact at the time. Mr. Jordan considered

the gun an antique or “wall hanger” – something he might eventually display on the wall

of the garage. Unbeknownst to him, however, the gun was never registered with the

National Firearms Registration and Transfer Record. Under current federal law, it cannot

now be registered. We have since learned that, when folks inherit a machine gun – even

a very old one like this – the only legal recourse is to call the federal Bureau of Alcohol,

Tobacco, and Firearms (“ATF”) and abandon the gun. See Appendix, p. 12 (ATF

guidance). Unfortunately, Mr. Jordan did not know that. He simply didn’t give the

matter much thought.

       That changed in May of 2019, when a child-hood friend, Michael Friesen, offered

to broker the sale of the gun. Mr. Jordan knew that his friend was struggling financially –

he was working with Mr. Jordan for a landscaping company in Prineville, but divorcing

his wife and failing to make his mortgage payments. Mr. Jordan also needed the money.

He had been chronically unemployed or under-employed for the past twenty years. In

2017, Mr. Jordan and his wife supported their two children on a combined income of just

$28,891. Their income rose to $41,888 in 2018. However, in 2019, the couple would

report just $38,457 in joint income, which is the above the national poverty line of

$25,750 for a family of four that year, but not by much.

       Mr. Jordan agreed to sell the gun. Mr. Friesen took care of the rest,

communicating with the buyer, negotiating a sales price, and fixing the time and place for




PAGE 3 – SENTENCING MEMORANDUM
      Case 6:18-cr-00492-MC         Document 82       Filed 09/18/20     Page 4 of 8




the transaction. Mr. Jordan brought the gun to a hotel room in Prineville as directed by

Mr. Friesen. He then gave the gun to the buyer and received $3,000 cash in exchange, a

portion of which he later gave to Mr. Friesen. Mr. Jordan was arrested not long

thereafter.

        For his role in selling an unregistered machine gun, Mr. Jordan has pleaded guilty

to Count 1 of the Indictment in this case, which charges Conspiracy in violation of 18

U.S.C. § 371 (class D felony). He has also pleaded guilty to Count 2 of the Indictment,

which charges Unlawful Possession of a Machine Gun in violation of 26 U.S.C. §§ 5841

and 5861(d) (class C felony). Mr. Jordan has agreed to forfeit the gun. The Government,

in return, has agreed to dismiss Count 3 of the Indictment.

B.      Standards

        As the Court is aware, the imposition of sentence following conviction of a

federal offense is generally governed by 18 U.S.C. § 3553. However, after the Supreme

Court’s decision in United States v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005), the

federal District Courts have been advised to follow a three-step sentencing process. First,

the Court must determine the applicable advisory guideline range. Second, the Court

must determine whether any departures from the advisory guideline range are warranted.

Finally, the Court must determine the appropriate sentence in light of the factors set forth

in § 3553.

        Section 3553 instructs the Court to “impose a sentence sufficient, but not greater

than necessary” to: (1) reflect the seriousness of the offense and provide just punishment;

(2) afford adequate deterrence; (3) protect the public from further crimes of the




PAGE 4 – SENTENCING MEMORANDUM
     Case 6:18-cr-00492-MC          Document 82        Filed 09/18/20     Page 5 of 8




defendant; and (4) provide the defendant with needed educational, medical, or other

treatment. 18 U.S.C. § 3553(a).

C.     Advisory Sentencing Guidelines

       Mr. Jordan concurs with the guideline calculations contained in the pre-sentence

report (“PSR”) prepared by the U.S. Probation Office. As indicated there, the total

offense level is 15. PSR ¶ 47. Mr. Jordan has a criminal history score of 0, placing him

in criminal history category I. PSR ¶ 53. The resulting advisory sentencing guideline

range is 18-24 months imprisonment. PSR ¶ 66.

D.     United States Code Title 18, Section 3553

       Mr. Jordan respectfully requests that the Court vary from the advisory guideline

range pursuant to 18 U.S.C. § 3553. Rather than prison, Mr. Jordan requests that the

Court impose a period of probation. The authorized period of probation is 1-5 years. 18

U.S.C. § 3561(c)(1). As special conditions of probation, the Court may wish to impose

community service and continued drug and alcohol treatment. Such a sentence is

“sufficient, but not greater than necessary” to achieve the sentencing goals set forth in

section 3553(a), as follows.

       A probationary sentence adequately reflects the seriousness of Mr. Jordan’s

conduct. In this regard, it is important to note that, regardless the sentence, Mr. Jordan is

now convicted of two federal felony offenses. He will carry that stigma for the rest of his

life. This is no small thing. Additionally, it is notable that the type of weapon sold by

Mr. Jordan – though a machine gun – is not the type that we commonly equate with street

crime (an Uzi or AR-15, for example). Rather, this is a collector’s item, or at least that is

how Mr. Jordan viewed it. Finally, it is notable that Mr. Jordan was motived not by




PAGE 5 – SENTENCING MEMORANDUM
      Case 6:18-cr-00492-MC          Document 82        Filed 09/18/20     Page 6 of 8




malice, but by a desire to put food on the table for his family, and to also help Mr.

Friesen, who he knew was struggling.

       The good news is that we have already succeeded in deterring future conduct of

this nature. This experience – from arrest, to prosecution, to pretrial supervision – has

had a signficant impact on Mr. Jordan. He has received an education in federal gun

regulation. He also understands that federal authorities take these matters very, very

seriously. Mr. Jordan is not likely to make a similar mistake in the future. For this

reason, a prison sentence is not necessary to protect the public from Mr. Jordan.

       A probationary (rather than prison) sentence is the best vehicle for ensuring that

Mr. Jordan gets the assistance that he needs. As reflected in the PSR, Mr. Jordan has

struggled throughout his life with mental health issues, including post-traumatic stress

disorder (“PTSD”). PSR ¶ 66. He also suffers from debilitating, chronic cluster migraine

headaches. PSR ¶ 65. These he has historically treated with marijuana, which he has

also used to help maintain his appetite and thus stave-off rapid weight loss. PSR ¶ 67.

Mr. Jordan has participated in drug and alcohol treatment while on federal pretrial

release, with increasing success. PSR ¶ 70-72. Although some mental health and

substance abuse programming is offered by the Bureau of Prisons at some facilities, Mr.

Jordan will have far more access to a wider variety of programs if placed on probation.

       Finally, and most importantly, what Mr. Jordan most needs is the ability to

support his family, both financially and emotionally. Mr. Jordan and his family are

currently living above the federal poverty line, but, like many Americans, they are living

paycheck-to-paycheck. Taking a working parent such as Mr. Jordan out of the home and

placing him in prison significantly increases the risk that his family will fall into a




PAGE 6 – SENTENCING MEMORANDUM
      Case 6:18-cr-00492-MC           Document 82      Filed 09/18/20   Page 7 of 8




downward spiral of poverty from which they will not recover for a generation or more.

In this case, there are, thankfully, better options.

                                       CONCLUSION

        For the foregoing reasons, Mr. Jordan requests that the Court impose a period of

probation between 1 and 5 years in duration. As special conditions of probation, the

Court may wish to impose community service and continued drug and alcohol treatment.

        DATED this 18th day of September, 2020.

                                                s/ Todd H. Grover
                                                _______________________________
                                                TODD H. GROVER, OSB #98244
                                                WARD GROVER & ASH
                                                Tel: (541) 312-5150
                                                Attorney for John Jordan




PAGE 7 – SENTENCING MEMORANDUM
      Case 6:18-cr-00492-MC         Document 82     Filed 09/18/20   Page 8 of 8




                             CERTIFICATE OF SERVICE

       I hereby certify that I served DEFENDANT’S SENTENCING MEMORANDUM
on:

Nathan Lichvarcik
Assistant U.S. Attorney
United States Attorney’s Office
405 E. 8th Avenue, Suite 2400
Eugene, Oregon 97401

       Attorney for Plaintiff United States of America

by electronic case filing and/or electronic mail.

       DATED this 18th day of September, 2020.

                                              s/ Todd H. Grover
                                              _______________________________
                                              TODD H. GROVER, OSB #98244
                                              WARD GROVER & ASH
                                              Tel: (541) 312-5150
                                              Attorney for John Jordan




PAGE 8 – SENTENCING MEMORANDUM
